54 F.3d 772NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Virgil E. BAILEY, Petitioner,v.HARMON MINING COMPANY;  DIRECTOR, OFFICE OF WORKERS'COMPENSATION PROGRAMS, UNITED STATES DEPARTMENT OFLABOR, Respondents.
    No. 95-1286.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  April 18, 1995.Decided:  May 19, 1995.
    
      Virgil E. Bailey, Petitioner Pro Se.  Mark Elliott Solomons, Laura Metcoff Klaus, Arter &amp; Hadden, Washington, DC;  Patricia May Nece, Cathryn Celeste Helm, United States Department of Labor, Washington, DC, for Respondents.
      Ben.Rev.Bd.
      AFFIRMED.
      Before HALL and MICHAEL, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Petitioner seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C.A. Secs. 901-945 (West 1986 &amp; Supp.1994).  Our review of the record discloses that the Board's decision is based upon substantial evidence and is without reversible error.  Accordingly, we affirm on the reasoning of the Board.  Bailey v. Harmon Mining Co., No. 94-3684-BLA (B.R.B. Jan. 30, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    